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                       IN THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH


 UNITED STATES OF AMERICA, ex rel.
 REGINALD WILLIAMS,
                                                      Case No. 2:15–cv–00054–RJS–DBP
        Plaintiff,
                                                     UNITED STATES’ COMPLAINT IN
        v.                                                  INTERVENTION

 ROBYN WILLIAMS, RONALD GORDON,                          District Judge Robert J. Shelby
 RICHARD ZIEBARTH, KIRK
 TORGENSEN, THOMAS PATTERSON,                           Magistrate Judge Dustin B. Pead
 LONDON STROMBERG, MIKE RAPICH,
 DAN MALDONADO, DANIEL BECKER,
 RHETT MCQUISTON, TOM DARAIS,
 JEFFREY WILSON, MIKE HADDON, KIM
 ALLARD, DANIEL CHESTNUT, LEO
 LUCY, RICH TOWNSEND, GERI MILLER,
 and the STATE OF UTAH,

        Defendants.



                                   NATURE OF THE ACTION

       1.      This is a civil grant fraud action.

       2.      Defendants applied for and received four grants from and entered into three

cooperative agreements with the United States Department of Justice (“DOJ”).
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       3.      As applicants for and recipients of federal money, the Defendants were required

to expressly certify that they would and did use this money in accordance with federal grant

program requirements.

       4.      Instead of properly using the grant money they received, Defendants misused it

by replacing rather than supplementing state money. In particular, Defendants used federal

money to pay salaries of existing State employees and then did not, when required, immediately

fill the vacated positions. This amounted to Defendants supplanting rather than supplementing

their agency budgets in contravention of the grant requirements and certifications Defendants

made to DOJ.

       5.      Because of Defendants’ false certifications, the United States awarded the State

and its agencies millions of dollars in grant money made available by the United States

Department of Justice’s Edward Byrne Memorial Justice Assistance Grant (“JAG”) Program, the

JAG - American Recovery Reinvestment Act (“ARRA”) Program, and the Internet Crimes

Against Children (“ICAC”) Task Force Continuation Program.

       6.      Defendants knowingly submitted or caused to be submitted false claims for

payment to the United States in violation of the False Claims Act, 31 U.S.C. § 3729(a). Such

actions also violate common law and equitable theories of payment by mistake, unjust

enrichment, recoupment, conversion, breach of contract, and breach of the contract covenant of

good faith and fair dealing.

                                JURISDICTION AND VENUE

       7.      The United States brings this action under the False Claims Act and under

common law and equitable theories of payment by mistake, unjust enrichment, recoupment,


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conversion, breach of contract, and breach of the contract covenant of good faith and fair

dealing. The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,

1345, 1367(a) and 31 U.S.C. § 3730(a).

       8.      The Court may exercise personal jurisdiction over Defendants pursuant to 31

U.S.C. § 3732(a) and 28 U.S.C. §§ 1331, 1345, and 1367 because Defendants reside, can be

found, and transact business in the District of Utah, and because they committed acts in this

district that violated 31 U.S.C. § 3729.

       9.      Venue under 28 U.S.C. § 1391(b) is proper because Defendants reside, can be

found, and transact business in the District of Utah, and because a substantial part of the acts

giving rise to the United States’ claims occurred in the District of Utah.

                                             PARTIES

       10.     The United States is the plaintiff. The Department of Justice (“DOJ”) is an agency

of the United States. DOJ, through its Office of Justice Programs (“OJP”), administers the JAG,

JAG – ARRA, and ICAC Task Force Continuation programs.

       11.     Relator Reginald Williams (“Relator”) is an individual and inmate of the Utah

Department of Corrections residing in the Gunnison Correction Facility in Gunnison, Utah.

Relator initiated this action on or about January 1, 2015, by filing a Complaint pursuant to the

qui tam provisions of the False Claims Act, 31 U.S.C. § 3730(b)(1). The United States has

intervened and assumed control of Relator’s action under 31 U.S.C. § 3730(b)(4), and files this

superseding Complaint in Intervention.

       12.     Defendant Ronald Gordon is an employee of the State of Utah and was the

executive director of the Utah Commission on Criminal and Juvenile Justice (“CCJJ”). He signed


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grant applications CCJJ submitted to DOJ. By doing so he attested to the truth and accuracy of

the applications and agreed for himself and CCJJ to comply with the grants’ requirements. He

also had signing authority for the subgrant awards CCJJ made to numerous Utah state agencies.

As Executive Director he was responsible for CCJJ’s compliance with all grant requirements and

for submitting and causing others to submit false claims to the United States.

          13.   Defendant Richard Ziebarth is an employee of the State of Utah and is the Grant

Manager for CCJJ. He prepared and drafted the grant applications CCJJ submitted to the DOJ.

He is responsible for submitting and causing others to submit false claims to the United States.

          14.   Defendant Kirk Torgensen was an employee of the State of Utah and was the

Criminal Chief Deputy of the Office of the Attorney General. He signed grant applications the

Office of the Attorney General submitted to CCJJ and DOJ. By doing so, he attested to the truth

and accuracy of the applications and agreed for himself and the Utah Attorney General’s Office

to comply with the grants’ requirements. The Utah Attorney General’s Office also designated

him as the authorized official for one of the ICAC program cooperative agreements. As Criminal

Chief Deputy, he was responsible for the Office of the Attorney General’s compliance with all

grant requirements and for submitting and causing others to submit false claims to the United

States.

          15.   Defendant Thomas Patterson was an employee of the State of Utah and was the

Executive Director of the Department of Corrections (“Corrections”). He signed one of the grant

applications Corrections submitted to CCJJ. By doing so, he attested to the truth and accuracy of

the application and agreed for himself and Corrections to comply with the grant’s requirements.




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As Executive Director he was responsible for Corrections’ compliance with all grant

requirements and for submitting and causing others to submit false claims to the United States.

       16.      Defendant Robyn Williams was an employee of the State of Utah and was a

Deputy Director of the Department of Corrections. She signed two of the grant applications

Corrections submitted to CCJJ. By doing so, she attested to the truth and accuracy of the

applications and agreed for herself and Corrections to comply with the grants’ requirements.

       17.      Defendant London Stromberg is an employee of the State of Utah and was the

Deputy Executive Director of the Department of Corrections. He signed one of the grant

applications that Corrections submitted to CCJJ. By doing so, he attested to the truth and

accuracy of the application and agreed for himself and Corrections to comply with the grant’s

requirements.

       18.      Defendant Mike Rapich is an employee of the State of Utah and Executive

Director of the Department of Public Safety (“Public Safety”). He signed grant applications

Public Safety submitted to CCJJ. He signed supplanting certifications submitted to CCJJ. By

doing so, he attested to the truth and accuracy of the applications and agreed for himself and

Public Safety to comply with the grants’ requirements. As Executive Director he was responsible

for Public Safety’s compliance with all grant requirements and for submitting and causing others

to submit false claims to the United States.

       19.      Defendant Dan Maldonado is an employee of the State of Utah and Executive

Director of the Division of Juvenile Justice Services (“Division”). He signed grant applications

the Division submitted to CCJJ. By doing so, he attested to the truth and accuracy of the

applications and agreed for himself and the Division to comply with the grants’ requirements. As


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Executive Director he was responsible for the Division’s compliance with all grant requirements

and for submitting and causing others to submit false claims to the United States.

       20.     Defendant Daniel Becker was an employee of the State of Utah and was State

Court Administrator. He signed grant applications the Administrative Office submitted to CCJJ.

By doing so, he attested to the truth and accuracy of the applications and agreed for himself and

the Administrative Office to comply with the grants’ requirements. As Administrator he was

responsible for the Administrative Office’s compliance with all grant requirements and for

submitting and causing others to submit false claims to the United States.

       21.     Defendant Rhett McQuiston, is an employee of the State of Utah and was a

Supervisory Special Agent for Internet Crimes Against Children (“ICAC”) Task Force. He

signed supplanting certifications submitted to CCJJ. By doing so, he attested to the truth and

accuracy of the applications and agreed for himself and the Office of the Utah Attorney General

to comply with the grants’ requirements. As Supervisory Agent, he was responsible for the ICAC

Task Force’s compliance with all grant requirements and for submitting and causing others to

submit false claims to the United States.

       22.     Defendant Tom Darais, is an employee of the State of Utah and was a Financial

Manager for the Division of Juvenile and Justice Services (“Division”). He signed supplanting

certifications submitted to CCJJ. By doing so, he attested to the truth and accuracy of the

applications and agreed for himself and the Division to comply with the grants’ requirements. As

Financial Manager he was responsible for the Division’s compliance with all grant requirements

and for submitting and causing others to submit false claims to the United States.




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       23.       Defendant Jeffrey Wilson, is an employee of the State of Utah and was a

Correction Captain for the Department of Corrections (“Corrections”). He signed grant

applications Corrections submitted to CCJJ. By doing so, he attested to the truth and accuracy of

the applications and agreed for himself and Corrections to comply with the grants’ requirements.

As Correction Captain, he was responsible for Corrections’ compliance with all grant

requirements and for submitting and causing others to submit false claims to the United States.

       24.       Defendant Mike Haddon, is an employee of the State of Utah and was Deputy

Director and is Executive Director of the Department of Corrections (“Corrections”). He signed

grant applications Corrections submitted to CCJJ and DOJ. By doing so, he attested to the truth

and accuracy of the applications and agreed for himself and Corrections to comply with the

grants’ requirements. As Executive Director, he was responsible for Corrections’ compliance

with all grant requirements and for submitting and causing others to submit false claims to the

United States.

       25.       Defendant Daniel Chestnut, is an employee of the State of Utah and was a

Program Manager at the Utah Department of Corrections (“Corrections”). He signed supplanting

certifications submitted to CCJJ. By doing so, he attested to the truth and accuracy of the

applications and agreed for himself and Corrections to comply with the grants’ requirements. As

a Program Manager, he was responsible for Corrections’ compliance with all grant requirements

and for submitting and causing others to submit false claims to the United States.

       26.       Defendant Kim Allard, is an employee of the State of Utah and of the

Administrative Office of the Courts (“Courts”). She signed grant applications Courts submitted

to CCJJ and DOJ. She signed supplanting certifications submitted to CCJJ. By doing so, she


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attested to the truth and accuracy of the applications and agreed for herself and Courts to comply

with the grants’ requirements. She was responsible for Courts’ compliance with all grant

requirements and for submitting and causing others to submit false claims to the United States.

       27.     Defendant Leo Lucy, is an employee of the State of Utah and employee of the

Office of the Attorney General (“Attorney General”). He signed grant applications Corrections

submitted to CCJJ and DOJ. By doing so, he attested to the truth and accuracy of the applications

and agreed for himself and the Attorney General to comply with the grants’ requirements. He

was responsible for the Attorney General’s compliance with all grant requirements and for

submitting and causing others to submit false claims to the United States.

       28.     Defendant Rich Townsend was an employee of the State of Utah and the

Department of Public Safety (“Public Safety”). He signed grant applications Public Safety

submitted to CCJJ and DOJ. By doing so, he attested to the truth and accuracy of the applications

and agreed for himself and Public Safety to comply with the grants’ requirements. He was

responsible for Public Safety’s compliance with all grant requirements and for submitting and

causing others to submit false claims to the United States.

       29.     Defendant Geri Miller, is an employee of the State of Utah and Department of

Corrections (“Corrections”). She signed grant applications Corrections submitted to CCJJ and

DOJ. By doing so, she attested to the truth and accuracy of the applications and agreed for

herself and Corrections to comply with the grants’ requirements. She was responsible for

Corrections’ compliance with all grant requirements and for submitting and causing others to

submit false claims to the United States.




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        30.     Defendant State of Utah is a governmental entity with its capitol located in Salt

Lake City, Utah. The State through its agencies and employees misused millions of dollars of

grant money received from DOJ. It is responsible for submitting and causing others to submit

false claims to the United States.

        31.     The individual defendants are sued in their individual and official capacities for

actions they took as alleged herein.

                                     THE FALSE CLAIMS ACT

        32.     The False Claims Act prohibits the submission of false claims, statements, and

records to the United States for payment.

        33.     The statute provides, in pertinent part, that any person who: “(A) knowingly

presents, or causes to be presented, a false or fraudulent claim for payment or approval; (B)

knowingly makes, uses, or causes to be made or used, a false record or statement material to a

false or fraudulent claim; [or] (C) conspires to commit a violation of [the statute,] . . . ; is liable

to the United States Government for a civil penalty . . . plus 3 times the amount of damages

which the Government sustains because of the act of that person.” 31 U.S.C. § 3729(a)(1)(A)-

(C).

        34.     The False Claims Act defines the terms “knowing” and “knowingly” as follows:

                        (1) the terms “knowing” and “knowingly”

                        (A) mean that a person, with respect to information(i) has actual
                        knowledge of the information;

                        (ii) acts in deliberate ignorance of the truth or falsity of the
                        information; or

                        (iii) acts in reckless disregard of the truth or falsity of the
                        information;

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                      (B) require no proof of specific intent to defraud;

        31 U.S.C. § 3729(b)(1).

        35.    The False Claims Act defines the term “claim” as:

               any request or demand, whether under a contract or otherwise, for
               money or property and whether or not the United States has title to the
               money or property, that (i) is presented to an officer, employee, or agent
               of the United States; or (ii) is made to a contractor, grantee, or other
               recipient, if the money or property is to be spent or used on the
               Government's behalf or to advance a Government program or interest,
               and if the United States Government (I) provides or has provided any
               portion of the money or property requested or demanded; or (II) will
               reimburse such contractor, grantee, or other recipient for any portion of
               the money or property which is requested or demanded.

        31 U.S.C. § 3729(b)(2).

        36.    A request for grant payments submitted to DOJ is a claim under the False Claims

Act.

                                  JAG-ARRA GRANT PROGRAM

        37.    Starting in 2009, the United States, through DOJ’s Office of Justice Programs,

made grant money available through the JAG-ARRA program to state and local law enforcement

to preserve and create critical law enforcement jobs. See Pub. L. 111-5, § 2, 123 Stat. 130.

        38.    The JAG-ARRA program requires as a condition of receiving federal funds that

grant recipients comply with several requirements and restrictions on the use of federal grant

money. Those requirements and restrictions serve the program’ primary objective of restoring

and creating jobs.




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       39.     Replacing state money with federal grant money, a practice known as

supplanting, is a key restriction found in many federal grants. It is one of the central restrictions

DOJ places on the use of federal grant money awarded through JAG-ARRA grants.

       EDWARD BYRNE MEMORIAL JUSTICE ASSISTANCE GRANT PROGRAM

       34.     The Edward Byrne Memorial Justice Assistance Grant Program, 42 U.S.C.

§ 3751, is the primary provider of federal criminal justice funding to state and local jurisdictions.

       35.     Like the JAG-ARRA program, the Byrne Memorial JAG program requires, as a

condition of receiving federal funds, grant recipients comply with several requirements and

restrictions on the use of federal grant money. Those requirements and restrictions serve the

program’s primary goal of improving the efficiency and effectiveness of criminal justice

systems.

       36.     Byrne Memorial JAG grants also contain non-supplanting provisions. See 42

U.S.C. § 3752(1).

             INTERNET CRIMES AGAINST CHILDREN TASK FORCE PROGRAM

       37.     The Internet Crimes Against Children Task Force (“ICAC”) program helps state

and local law enforcement agencies develop an effective response to technology-facilitated child

sexual exploitation and Internet crimes against children.

       38.     DOJ’s Office of Justice Programs originally created the ICAC program under the

authority of the 1998 Justice Appropriations Act, Pub. L. 105–119. The Providing Resources,

Officers, and Technology to Eradicate Cyber Threats to Our Children Act of 2008, (Pub. L. 110-

401, codified at 42 U.S.C. § 17601, et seq.), reauthorized the ICAC program and funding. The




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ICAC program is a national network of 61 coordinated task forces representing over 4,500

federal, state, and local law enforcement and prosecutorial agencies.

       39.     Unlike the JAG-ARRA and Byrne Memorial JAG programs, the ICAC Task

Force Program is not a competitive grant program. DOJ annually invites law enforcement

entities to apply for funding through DOJ’s Office of Juvenile Justice and Delinquency

Prevention. DOJ sends a letter of invitation directly to an entity which details the amount of

money that the entity can receive. The ICAC program documents reference and incorporate

OJP’s Financial Guide and its non-supplanting provisions.

             THE NON-SUPPLANTING REQUIREMENT IN FEDERAL GRANTS

       40.     Importantly, and as Congress intended, the JAG-ARRA and Byrne Memorial JAG

grants, and the ICAC cooperative agreements Defendants applied for and received contained

non-supplanting provisions. The non-supplanting provision is one of the conspicuous, central

restrictions Congress and DOJ places on the use of federal grant money.

       41.     Applicants for, and recipients of, federal grants are required by law to comply

with and certify compliance with non-supplanting requirements as a condition of receiving grants

and payment of grant money.

       42.     The failure to adhere to all grant requirements may result in the suspension or

termination of funding or the imposition of other sanctions.

       43.     Once DOJ awards a grant, a grant recipient’s obligation to comply with non-

supplanting provisions does not stop. Grant recipients have an ongoing responsibility to comply

with the non-supplanting and other provisions of the grant and must routinely certify that they

are using federal money in accordance with the grant’s objectives and legal requirements.


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       44.     The JAG-ARRA program’s non-supplanting requirement mandates that a

recipient can only use grant money to increase the recipient’s law enforcement budget. A

recipient may not use federal grant money to reduce its budget by using federal grant money to

replace state money it would have spent on the same activities absent the grant money.

       45.     The DOJ’s Office of Justice Programs’ Financial Guide, which was incorporated

into and referenced in all DOJ’s grant programs explains:




       46.     The Financial Guide further defines supplanting as “deliberately reduc[ing] State

or local funds because of the existence of Federal funds.”

       47.     The Financial Guide also provides this example: “[W]hen State funds are

appropriated for a stated purpose and Federal funds are awarded for that same purpose, the State

replaced its State funds with Federal funds, thereby reducing the total amount available for the

stated purpose.”

       48.     The application materials CCJJ used for state agencies to apply for JAG-ARRA

subgrants contain several warnings about supplanting. First they warn that the grant funding

“cannot be used to replace or supplant any budget item that is currently approved for funding by

your legislative body.” Second, they warn that applicants must be “certain in [their] budget not to

request [grant] funding to replace any positions or items that are already approved for funding in


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your current budget.” Finally, they warn that “[f]ederal funds must be used to supplement

existing funds for program activities and not replace those funds that have been appropriated for

the same purpose.”

       49.     ARRA-JAG grant applications also referred applicants to DOJ’s supplanting

regulations, publicly accessible on OJP’s website.

       50.     A state government executive and the grant manager must sign the application.

By signing the grant application, applicants certify that all information in the application is true

and correct and that the applicant will comply with and monitor compliance with all legal and

administrative requirements and assurances that govern the acceptance and use of federal grant

money, including, importantly, the non-supplanting requirement.

       51.     In addition to assurances in the grant application, grant recipients are also

required to certify compliance with the grant’s requirements as a precondition to payment of

grant money. Pub. L. 111-5, § 2, 123 Stat. 287-88. This payment request certification consists of

the submission of progress, performance measurement, and financial status reports.

       52.     The progress report provides the status of the project and identifies any delays or

issues. It includes the number of jobs created, retained or restored. Progress reports are uploaded

to the OJP’s Grants Management System.

       53.     A Financial Status Report, and its successor Federal Financial Report, contain the

actual costs a grant recipient incurred and any program revenue received.

       54.     Each grant recipient on each Financial Status Report certifies the Report is correct

and complete and that “all outlays and unliquidated obligations are for the purposes set forth in

the award documents.” Starting in January 2010, DOJ required recipients use the Federal


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Financial Report, which requires the recipient to certify the report is “true, complete, and

accurate to the best of [that person’s] knowledge.” It also requires the recipient to certify that she

is “aware that any false, fictitious, or fraudulent information may subject [her] to criminal, civil,

or administrative penalties.” DOJ’s guidance to recipients advises that by clicking the “submit”

button in the Grants Management System, a recipient certifies that the report submitted to OJP is

true, complete, and accurate.

       55.     Grant recipients must also submit requests for grant money disbursements either

by phone or on-line through DOJ’s Grants Payment Request System. Often a request for

disbursement is made by submitting a Financial Status Report. Prior to January 2011 most

payments were requested by phone. If made through the Grants Payment Request System, only

an authorized specialist could request disbursement through the system.

                          THE STATE OF UTAH APPLIED FOR AND
                              RECEIVED FEDERAL GRANTS

       56.     DOJ awarded the State, through the Utah Commission on Criminal and Juvenile

Justice (“CCJJ”) the following grants from 2009 through 2011: 2009-SU-B9-0045, 2009-DJ-BX-

0657, 2010-DJ-BX-0318, and 2011-DJ-BX-2082. DOJ also entered into three cooperative

agreements with the Office of the Attorney General, all numbered 2009-MC-CX-KO53, for

federal ICAC funding.

       57.     When Defendants applied for federal grant money under the JAG-ARRA and

Byrne Memorial JAG grant programs, and signed cooperative agreements for ICAC money, they

represented and certified they would comply with the express non-supplanting provisions of

federal grant programs.



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       58.     In addition, Defendants represented and certified that the information in the

application was true and correct, they would comply with all assurances, and would comply with

additional applicable requirements prior to receiving grant funding.

       59.     CCJJ used the four grants it received to award multiple subgrants. It awarded

eight subgrants to the Office of the Utah Attorney General, the Administrative Office of the

Courts, the Department of Public Safety, Division of Juvenile Justice Services, and the

Department of Corrections as follows:

  Grant                   Subgrants        Amount            Grantee
  2009-SU-B9-0045                          $9,964,861        CCJJ
                          9AR01            $1,782,000        Attorney General
                          9AR02            $545,000          Administrative Office of Courts
                          9AR03            $453,861          Department of Public Safety
                          9AR04            $928,630          Juvenile Justice Services
                          9AR05            $957,422          Department of Corrections
  2009-DJ-BX-0657                          $2,642,837        CCJJ
                          9A21                               Department of Corrections
  2010-DJ-BX-0318                          $2,541,633        CCJJ
                          10A27                              Department of Corrections
  2011-DJ-BX-2082                          $2,096,024        CCJJ
                          11A27                              Department of Corrections


       60.     All agencies that received subgrants certified that the information contained in the

subgrant application was correct, met all grant requirements, and that the agency would comply

with all provisions of the program, including OJP’s Financial Guide.

       61.     CCJJ served as the administrative agency for all of their subgrants. As the

administrative agency, CCJJ oversaw the distribution of grant money and agency spending in

accordance with the grants’ objectives. CCJJ also submitted financial reports, programmatic

reports, performance measurement data and subgrant information to DOJ. Finally, and perhaps

most importantly, CCJJ was required to monitor all subgrant recipients’ compliance with all of
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the grants’ special conditions and provisions, including, importantly, the non-supplanting

provisions.

       62.     The JAG-ARRA and Byrne Memorial JAG grants the State applied for and

received (Nos. 2009-SU-B9-0045, 2009-DJ-BX-0657, 2010-DJ-BX-0318, and 2011-DJ-BX-

2082), and the three ICAC cooperative agreements it signed (No. 2009-MC-CX-K053) expressly

prohibited supplanting.

       63.     The State and its agencies also knew that compliance with federal grant

requirements was material to the United States’ decision to award it grant money, was central to

the United States’ grant programs and was a condition of the grants being awarded and money

being disbursed.

       64.     As examples of materiality of the non-supplanting provision to federal grant

programs, DOJ has terminated or taken action against grant recipients including state and local

governments, for not complying with grant requirements:

       A.      In 2009, the DOJ barred 25 state and local law enforcement agencies from

receiving DOJ grants for violating the non-supplanting requirements.

       B.      The DOJ has litigated or settled actions where it was alleged that grant awardees

supplanted or did not comply with grant requirements. See, e.g., Former Grant Administrator

and Legal Assistant of American Samoa Non-profit Legal Aid Corporation Sentenced for

Stealing Nearly $160,000 in Federal Grant Funds, https://www.justice.gov/opa/pr/former-grant-

administrator-and-legal-assistant-american-samoa-non-profit-legal-aid-0.

       65.     Had DOJ known of Defendants’ non-compliance with the non-supplanting

provisions, it would have taken affirmative action.


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                   DEFENDANTS SUBMITTED FALSE CERTIFICATIONS
                  TO OBTAIN GRANT MONEY AND RECEIVE PAYMENT

        66.     Defendants knowingly submitted false and fraudulent assurances and

certifications to obtain grants.

        67.     Defendants knowingly assured DOJ when they submitted and signed grant

applications and award documents that they were aware of the non-supplanting provisions and

would follow the provisions.

        68.     Defendants’ assurances and certifications were false. Instead of complying with

the grant’s provisions, Defendants supplanted in express violation of the grants’ terms.

        69.     Defendants also falsely certified with each request for disbursement that they

were not fraudulently submitting the request and were otherwise using the grant money for the

objectives in the grant award documents.

        70.     Defendants’ failure to abide by Congressional rules established as conditions for a

grant award disqualified the State from receiving federal money.

        71.     In addition to the false assurances and certifications, CCJJ failed to properly

monitor and ensure compliance with the non-supplanting requirements imposed on State

agencies that received subgrants.

        72.     CCJJ knew, or should have known, from emails, requests for payment, and

reports agencies submitted to it and DOJ that the agencies were improperly supplanting. In

particular, CCJJ knew, or should have known, the agencies were moving existing employees into

grant-funded positions but not immediately filling the vacated positions with new hires; or that

the agencies were using grant funds to pay current employee salaries while misrepresenting that

the these positions would be, or were, eliminated in budget cuts.

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       73.       CCJJ failed to correct the supplanting violations and continued to certify

compliance with the non-supplanting requirement in each progress report and payment request

submitted to DOJ.

       74.       Like CCJJ, the Office of the Attorney General knew, or should have known,

through emails, requests for payment, and reports it submitted to DOJ that it was improperly

supplanting. In particular, the Office of the Attorney General moved existing employees into

grant-funded positions but did not immediately fill the vacated positions with new hires; or it

was using grant funds to pay existing employee salaries while misrepresenting that the

employees’ positions would be, or were, eliminated by budget cuts.

       75.       Even though Defendants knew they were not compliant, they certified agencies

were complaint in order to obtain the following grants and continue to receive payments of

federal money.

                                 GRANT 2009-SU-B9-0045
                        Utah Commission on Criminal and Juvenile Justice

       76.       CCJJ applied for and received $9,964,861 in part to fund five “quickstart”

projects through subgrants to five state agencies: 1) the Utah Attorney General’s Office

(subgrant 9AR01); 2) the Administrative Office of the Courts (subgrant 9AR02); 3) the

Department of Public Safety (subgrant 9AR03); 4) the Division of Juvenile Justice Services

(subgrant 9AR04); and 5) the Department of Corrections (subgrant 9AR05). CCJJ represented

that the funding through these projects would create, retain, or restore 45 jobs.

       77.       The stated grant period was March 31, 2009 to June 30, 2013.

       78.       Ronald Gordon, the Executive Director of CCJJ, signed the application and

certified that CCJJ was aware of and would not violate the grant’s non-supplanting requirements.

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Richard Zebarth, CCJJ’s grant manager, wrote and caused the application to be submitted to

DOJ.

        79.    CCJJ expressly notified agencies of the supplanting provision by including the

following warning in its non-supplanting certification:




        80.    CCJJ also expressly described for the agencies in its non-supplanting certification

how to comply with the non-supplanting provisions:




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       81.     Each agency executive or grant manager signed the non-supplanting certification

acknowledging understanding of the non-supplanting provisions and agreeing to comply.

       82.     Beginning on June 18, 2009, and ending on May 16, 2013, CCJJ or the agencies

that received subgrants requested 17 disbursements from this grant. In connection with each

request, CCJJ submitted a Financial Status Report or Federal Financial Report. A CCJJ financial

manager submitted these disbursement requests.

       83.     Although the certification language in the reports changed over time, in each

disbursement request, CCJJ expressly certified the report was truthful, correct, complete, did not

contain fraudulent information and the money was or would be used for the purposes as

explained in the grant’s award documents. By doing this, CCJJ certified that it was in

compliance with the grant’s requirements, including the non-supplanting provisions.

       84.     CCJJ and the agencies knew, or should have known, they were not compliant with

non-supplanting provisions, a condition of disbursement, when they submitted claims for

disbursement and were therefore not entitled to federal grant money. This resulted in CCJJ

submitting or causing it to submit false claims for payment to the DOJ in violation of the False

Claims Act.

                                       Subgrant 9AR01
                                   Attorney General’s Office

       85.     The Attorney General’s Office (“Attorney General”) received $1,782,000 to form

the Statewide Enforcement of Crimes by Undocumented Residents Task Force. It stated it would

use the grant money to preserve existing jobs of three full-time employees and to hire three new

full-time employees who would be entirely and exclusively dedicated to task force activities.



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        86.      Kirk Torgensen, the Chief Criminal Deputy at the Attorney General’s Office, and

Leo Lucy, Assistant Section Chief, signed the application and thereby certified that the Attorney

General was aware of and would not violate the grant’s non-supplanting requirements.

        87.      Rhett McQuiston, Supervisory Special Agent, signed the CCJJ supplanting

certification.

        88.      The Attorney General identified Leo Lucey and Cord Skinner as two employees

whose positions it retained using grant money.

        89.      Shortly after the Attorney General received the subgrant, however, it transferred

Lucey and Skinner to other positions within the office. It then transferred employees who were

already working in the office to Lucey and Skinner’s vacated positions and never filled the

transferred employees’ positions.

        90.      The Attorney General supplanted by transferring Lucey and Skinner and then

filling their vacated positions with existing employees. By doing so, it wrongfully replaced

money in its budget with federal grant money.

        91.      The Attorney General admitted its wrongdoing in a response to a records request

on December 3, 2015:




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                                       Subgrant 9AR02
                               Administrative Office of the Courts

       92.     The Administrative Office of the Courts received $545,000 to retain or rehire

several clerical positions.

       93.     Daniel Becker, Court Administrator, and Kim Allard, Program Manager, signed

the application and thereby certified that the Courts was aware of and would not violate the

grant’s non-supplanting requirements.

       94.     Kim Allard signed the CCJJ supplanting certification.

       95.     The clerical positions Courts claimed it would lose in the absence of federal grant

money were actually vacant positions it did not fill because of attrition and a hiring freeze. The

Courts hired only one person for approximately 6 months, but otherwise used the grant money to

pay existing employee salaries.

       96.     Courts paid existing employees Mandi Rohrer, Lisa Pickering, Jackie Taylor,

Lacie Downs, Brady Petersen, Ashlee Wilson, Jay Mills, Earline Matheson and Lorene Childs

with federal grant money and did not fill any of positions it claims it would lose.

       97.     Courts used federal grant money to retain these clerk positions it knew it would

not lose through budget cuts. By doing so, it wrongfully replaced money in its budget with

federal grant money.

                                        Subgrant 9AR03
                                   Department of Public Safety

       98.      The Department of Public Safety (“Public Safety”) received $453,861 to retain

two computer forensic examiners and one ICAC Task Force investigator. Public Safety claimed

that it would lose these positions because of budget cuts.


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         99.    Rich Townsend, the Deputy Commissioner and Mike Rapich signed the

application and thereby certified that Public Safety was aware of and would not violate the

grant’s non-supplanting requirements.

         100.   Mike Rapich signed the CCJJ supplanting certification.

         101.   Public Safety moved existing employees Steve Gamvroulas, Terry Sparks, and

Daniel Hooper to grant-funded positions and then did not fill the vacated positions.

         102.   Public Safety used federal grant money to retain positions it knew it would not

lose to budget cuts. By doing so, it improperly replaced money in its budget with federal grant

money.

                                         Subgrant 9AR04
                               Division of Juvenile Justice Services

         103.   The Utah Division of Juvenile Justice Services (“Division”) received $928,630 to

restore 13 positions it claimed it eliminated because of budget cuts.

         104.   Dan Maldonado, Division Director, and Tom Darais, Federal Revenue Manager,

signed the application and thereby certified that the Division was aware of and would not violate

the grant’s non-supplanting requirements.

         105.   Tom Darais signed the CCJJ supplanting certification.

         106.   The Division did not eliminate any positions. It transferred 11 employees it

claimed to have terminated because of budget cuts to other positions within the Division and did

not fill the vacated positions. The other two positions were vacant positions.

         107.   The Division used federal grant money to pay the salaries of existing employees

K. Storey, P. Hill, K. Havea, J. Coggins, M. Murry, C. Turk, D. Nuno, J. Sanchez, T. Rodriguez,

A. Allsup, S. Lupeamanu and W. Singletary.

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         108.   The Division improperly used federal grant money to retain these positions

because it knew it would not lose the positions to budget cuts. In fact, the Utah Legislature

reinstated “on going funding” for two of the positions during the time the Division was receiving

federal grant money to pay the salaries of these same two positions. By doing so, it wrongfully

replaced budgeted money with federal grant money.

                                       Subgrant 9AR05
                                   Department of Corrections

         109.   The Department of Corrections (“Corrections”) received $957,422 to hire 6 new

Offender Employment Coordinators for the Employment Placement Program.

         110.   Robyn Williams, Deputy Director and Geri Miller signed the application and

thereby certified that Corrections was aware of and would not violate the grant’s non-supplanting

requirements.

         111.   Daniel Chestnut signed the CCJJ supplanting certification.

         112.   Rather than hire new employees, Corrections used federal grant money to pay the

salaries of existing employees T. Cottrel, J. Williams, J. Wifaon, C. Gunderson, T. Cressall and

E. Price.

         113.   Corrections did not immediately fill the vacated positions with new hires. One

position was never filled.

         114.   By doing so, Corrections wrongfully replaced budgeted money with federal grant

money.




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                                  Grant 2010-DJ-BX-0318
                         Commission on Criminal and Juvenile Justice

       115.    CCJJ received $2,541,633, of which it awarded $773,472 through a subgrant

(10A27) to the Department of Corrections (“Corrections”) to continue the Employment

Placement Program and retain the positions funded under subgrant 9AR05.

       116.    The stated grant period was September 30, 2011 to June 30, 2013.

       117.    Ronald Gordon, Executive Director of CCJJ and Richard Ziebarth, Grant Program

Manager, signed the application and thereby certified that CCJJ was aware of and would not

violate the grant’s non-supplanting requirements.

       118.    Robyn Williams, Deputy Executive Director and Jeffrey Wilson, Supervisor,

signed the CCJJ application and thereby certified that Corrections was aware of and would not

violate the grant’s non-supplanting requirements. Jeffrey Wilson signed the CCJJ non-

supplanting certification.

       119.    CCJJ knew of this grant and grants 2011-DJ-BX-2082 and 2009-DJBX-0657

prohibited supplanting because it notified the agencies of the non-supplanting provision. Each

agency’s executive or program manager signed the application documents for a subaward and

thereby the following provision:




       121.    Corrections used the grant money to pay existing employee salaries. Corrections

transferred the employees paid under subgrant 9AR05 to this subgrant.

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       122.    Corrections did not immediately fill the vacated positions from 9AR05 with new

hires. Funding for these position continued to this grant.

       123.    Beginning on August 17, 2010, and ending on November 12, 2013, CCJJ

requested 16 disbursements from this grant. In connection with each request, CCJJ submitted a

Financial Status Report of Federal Financial Report. A CCJJ financial manager submitted these

disbursement requests.

       124.    In each request for disbursement, CCJJ expressly certified the report was true,

complete, and accurate and that any false, fictitious, or fraudulent information would subject the

person and entity submitting the report to criminal, civil, or administrative penalties. By

submitting the request for disbursement, CCJJ certified that it was in compliance with the grant’s

requirements, including the non-supplanting provisions.

       125.    CCJJ knew, or should have known, when it requested and submitted claims for

disbursement of federal grant money it and Corrections were not compliant with the non-

supplanting provisions of the grant. This caused CCJJ and Corrections to submit false claims for

payment to the DOJ in violation of the False Claims Act.

                                  Grant 2011-DJ-BX-2082
                         Commission on Criminal and Juvenile Justice

       126.    CCJJ received $2,096,024 to fund units of state and local government and private

providers of criminal justice services.

       127.    Ronald Gordon, Executive Director of CCJJ, and Richard Ziebarth, Grant

Manager, signed the application and thereby certified that CCJJ was aware of and would not

violate the grant’s non-supplanting requirements.



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       128.    One of the funding priorities CCJJ identified in its program narrative was the

continuation of the Department of Corrections (“Corrections”) Employment Placement Project.

Its purpose was to increase the effectiveness of Corrections’ responsibility to assist incarcerated

individuals with transition and re-entry into the community and with obtaining post-incarceration

employment.

       129.    Corrections initially received $958,442 under subgrant 9AR05 and then an

additional $773,472 under subgrant 10A27 for the Employment Placement Project.

       130.    Corrections then received $650,000 for the continuation of the Employment

Placement Project under subgrant 11A27, with almost all of the money budgeted to pay the

salaries of the Offender Employment Coordinators/Agents.

       131.    Corrections used federal grant money to pay existing employee salaries.

Corrections transferred the employees it paid under subgrant 10A27 to subgrant 11A27.

Corrections did not immediately fill the vacated positions from grant 9AR05 that continued to

grant 11A27.

       132.    Jeffrey Wilson and London Stromberg signed the application for grant 11A27 and

thereby certified that Corrections was aware of and would not violate the grant’s requirements.

       133.    By doing so, it wrongfully replaced budgeted money with federal grant money.

       134.    Corrections also billed the United States twice for several Employment Placement

Program agents’ salaries.

       135.    On August 1, 2011, Corrections requested payment for $18,042 for pay period

April 16, 2011 — April 29, 2011 and April 30, 2011 — May 13, 2011, and then also requested

another $18,402 for the pay period April 20, 2011 — May 13, 2011.


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       136.    As another example, on October 23, 2012, Corrections submitted a request for

payment for $20,044 for the pay period ending October 12, 2012. In January 2013, Corrections

again submitted a request for payment for another $20,044 for same pay period ending October

12, 2013.

       137.    Despite knowing of the double billing, Corrections did nothing to report it to

CCJJ or DOJ and never attempted to pay back the money.

       138.    Beginning on August 31, 2011, and ending on November 26, 2014, CCJJ

requested 16 disbursements from this grant. In connection with each request, CCJJ submitted a

Financial Status Report or Federal Financial Report. A CCJJ financial manager submitted these

disbursement requests.

       139.    In each disbursement request CCJJ expressly certified the report was true,

complete, and accurate and that any false, fictitious, or fraudulent information would subject the

person and entity submitting the report to criminal, civil, or administrative penalties. By so

certifying, CCJJ certified that it and Corrections was in compliance with the grant’s

requirements, including the applicable non-supplanting provisions.

       140.    CCJJ knew, or should have known, when it requested disbursements and

submitted claims for federal grant money that it and Corrections were not compliant with the

non-supplanting provisions of the grant. This caused CCJJ and Corrections to submit false claims

for payment to the DOJ in violation of the False Claims Act.

                                  Grant 2009-DJBX-0657
                         Commission on Criminal and Juvenile Justice

       141.    CCJJ received $2,642,837, to enhance statewide public service services and

support statewide narcotics interdiction and prevention services. CCJJ awarded several subgrants

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to State agencies from this grant, including one to the Department of Corrections

(“Corrections”).

       142.    Ronald Gordon, the Executive Director of CCJJ signed the application and

certified that CCJJ was aware of and would not violate the grant’s non-supplanting requirements.

Richard Zebarth, CCJJ’s grant manager, wrote the application and submitted or caused to be

submitted the application to DOJ.

       143.    Beginning on August 20, 2009, and ending on January 30, 2013, CCJJ requested

17 disbursements from this grant. In connection with each request, CCJJ submitted a Federal

Financial State Report of Financial Report. A CCJJ financial manager submitted these

disbursement requests.

       144.    In each disbursement request, CCJJ expressly certified the report was true,

complete, and accurate and that any false, fictitious, or fraudulent information would subject the

person and entity submitting the report to criminal, civil, or administrative penalties. By so

certifying, CCJJ certified that it and Corrections were in compliance with the grant’s

requirements, including the non-supplanting provisions.

       145.    CCJJ and Corrections knew, or should have known, when they requested and

submitted claims for disbursement they were not compliant with the non-supplanting provisions

of the grant. This caused CCJJ and Corrections to submit false claims for payment to the DOJ in

violation of the False Claims Act.




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                                        Subgrant 9A21
                                   Department of Corrections

       146.    The Department of Corrections (“Corrections”) received $29,775 for Moral

Reconation Therapy training software and later received $37,389 to pay the salaries of six part-

time scanning technicians.

       147.    Corrections submitted a grant adjustment request to CCJJ and requested to use

remaining funds from this grant to pay salaries of the scanning technicians and claiming the

wages were funded by another grant that it had depleted.

       148.    Tom Patterson, Executive Director, and Mike Haddon, Deputy Director signed

the application and thereby certified that the Corrections was aware of and would not violate the

grant’s non-supplanting requirements.

       149.    Mike Haddon signed the CCJJ supplanting certification.

       150.    Corrections stated in the grant adjustment request that it had used all available

funding from other DOJ grants to pay the scanning technician salaries.

       151.    Corrections improperly used federal grant money to train staff on Moral

Roconation Training when it already had a contract with Correctional Counseling, Inc., to

provide the training. The contract with Correctional Counseling, Inc., was effective from October

15, 2009, through October 14, 2012, to pay for e-learning software.




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                           Cooperative Agreement 2009-MC-CX-K053
                                Utah Attorney General’s Office

       152.    The Office of the Attorney General (“Attorney General”) received three separate

awards for continuation of its ICAC Task Force. It received $268,806 in 2009, $263,316 in 2010

and $271,874 in 2011.

       153.    Kirk Torgensen signed the award documentation and was the authorized

representative. Jessica Farnsworth was listed as the point of contact on all reports the Attorney

General uploaded to DOJ’s grants management system.

       154.      DOJ, in connection with these grants, required recipients to establish and

maintain adequate accounting systems and financial records and to accurately account for

awarded funds.

       155.    The Attorney General used this grant money to pay agent salaries, but failed to

accurately track and charge the agents’ time.

       156.    The Attorney General also improperly used $602,600 to pay the salaries of agents

who were not assigned to the ICAC program—the program for which the funds were dedicated.

       157.    The Attorney General also likely supplanted, although this is difficult to confirm

because of the Attorney General’s inadequate and inaccurate accounting.

       116.    The Attorney General’s Office knew of the award’s prohibition of supplanting

because the award documentation required:




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       158.    Beginning on November 5, 2009 and ending on January 10, 2013, the Attorney

General requested 14 disbursements from this grant. Each request was made either by phone or

through DOJ’s Grant Payment Request System.

       159.    In each disbursement request, the Attorney General authorized user and person

submitting the requests expressly certified the report was true, complete, and accurate and that

any false, fictitious, or fraudulent information would subject the person submitting the request to

criminal, civil, or administrative penalties. By submitting the requests for disbursement, the

Attorney General certified it was in compliance with the grant’s requirements, including the non-

supplanting provisions.

                           DEFENDANTS’ MISREPRESENTATIONS

       160.    Defendants made materially false representations to obtain federal grant money

and to continue receiving federal grant money. Among those materially false representations,

Defendants represented that they lost jobs or would lose jobs to budget cuts.

       161.    In each instance, the agency that represented it did or would lose jobs had a

budget surplus or had cuts restored before federal grants expired.

       162.    CCJJ misrepresented, for example, that 45 jobs would be created, retained or

restored by grant money. The State did not create, retain, or restore 45 jobs using grant money

because it was not immediately filling positions vacated by employees it moved to grant-funded

positions.

       163.    Public Safety misrepresented that it needed grant money to create, retain, or

restore positions it lost or would lose because of budget cuts. In reality, the Utah Legislature

appropriated to Public Safety enough money that Public Safety had millions of dollars in budget


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surpluses and had sufficient money from state appropriations to pay for the salaries of all

employees it paid with federal grant money. In fact, from 2009 to 2011 Public Safety had an

average budget surplus of $27 million.

       164.    The Division of Juvenile Justice Services (“Division”) misrepresented that it

needed federal grant money to create, retain, or restore 13 positions. In reality, the Utah

Legislature appropriated to the Division enough money that the Division had sufficient money

from state appropriations to pay for the salaries of all employees it paid with federal grant

money. In fact, the Division from 2009 through 2010 had an average budget surplus of $1

million.

       165.    The Utah Legislative Auditor General confirmed the misrepresentations made by

the State in audits it conducted of the Department of Corrections.

       166.    In an audit conducted in 2013, the Legislative Auditor General concluded that the

Department of Correction’s elimination of jobs led to a large surplus. The audit concluded that

Corrections from fiscal years 2008 to 2011, added about $10 million to its carry-forward funds,

reaching a balance of $19.6 million. In fiscal year 2012, Corrections added another $5.6 million

for a year-end carry-forward balance of $25.2 million.

       167.    During this time, the Executive Director of Corrections testified before the Utah

Legislature that it would be forced to reduce employees and release inmates from prison early if

Corrections’ budget was further cut. The Director specifically testified that a three percent cut

would be $6.9 million, and the consequences would be the early release of 384 inmates and loss

of approximately 75 staff positions.




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        168.    The Auditor also noted that Corrections provided career ladder salary increases to

over 500 employees using funds accumulated from vacant positions. Some of these were

positions left vacant and not immediately filled when existing employees were moved to grant-

funded positions.

        169.    The State and its agencies have claimed that they did not immediately fill vacated

positions because of a state-wide hiring freeze. See Executive Order 2009-05-EO: Implementing

a Statewide Budget Reduction through June 30, 2010. A hiring freeze provides Defendants no

legal justification to supplant.

        170.    Defendants knowingly submitted false claims when they certified compliance

with (1) the federal statutory non-supplanting mandate that grantees not use grant funds to

replace state or local “funds that would, in the absence of federal funds, be made available for

law enforcement activities,” (42 U.S.C. § 3752(1)); (2) the statutory requirement that “all the

information contained in the [grant] application is correct” (Id. § 3752 (5)(B)); and (3) the

requirements to expend grant funds only for purposes and activities covered by approved project

activities and budget.

        171.    In the end, Defendants obtained millions of dollars in federal funds that they were

not entitled to receive because of their fraud and false certifications.

                                   FIRST CAUSE OF ACTION
                          False Claims Act: Presentation of False Claims
                                     31 U.S.C. § 3729(a)(1)(A)

        172.    The United States repeats and realleges each allegation in ¶¶ 1 through 171, as if

fully set forth herein.




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        173.     Defendants knowingly presented or caused to be presented false or fraudulent

claims for payment to the United States.

        174.     By virtue of the false or fraudulent claims made by Defendants, the United

States suffered damages and therefore is entitled to treble damages under the False Claims

Act, plus a civil penalty of $22,363 for each violation.

                               SECOND CAUSE OF ACTION
                 False Claims Act: Making or Using False Record or Statement
                                   31 U.S.C. § 3729 (a)(1)(B)

        175.     The United States repeats and realleges each allegation in ¶¶ 1 through 174, as if

fully set forth herein.

        176.     Defendants knowingly made, used, or caused to be made or used, false records or

statements to get false or fraudulent claims paid or approved by the United States.

        177.     By virtue of the false records or statements made by Defendants the United States

suffered damages and therefore is entitled to treble damages under the False Claims Act plus a

civil penalty of $22,363 for each violation.

                                  THIRD CAUSE OF ACTION
                             False Claims Act: Reverse False Claims
                                    31 U.S.C. § 3729(a)(1)(D)

        178.     The United States repeats and realleges each allegation in ¶¶ 1 through 177, as if

fully set forth herein.

        179.     Defendants knowingly made, used or caused to be made or used a false record or

statement to conceal, avoid or decrease an obligation to pay or transmit money or property to the

United States.

        180.     By virtue of the false records or statements made by Defendants, the United


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States suffered damages and therefore is entitled to treble damages under the False Claims

Act plus a civil penalty of $22,363 for each violation.

                                 FOURTH CAUSE OF ACTION
                                    Common Law Fraud

        181.    The United States repeats and realleges each allegation in ¶¶ 1 through 180, as if

fully set forth herein.

        182.    This is a civil action brought by the United States against Defendants under

the common law for fraud.

        183.    Defendants made false claims regarding the use of federal grant money. These

false claims were misrepresentations of material fact, they were made with knowledge of their

falsity and/or with reckless disregard for their truth, and with the intent that they be relied upon

by the United States.

        184.    The United States had the right to rely upon these representations. Acting without

knowledge of the falsity of these representations and in reliance upon Defendants’

misrepresentations, the United States paid these false claims and has been damaged in an amount

to be determined.

                                  FIFTH CAUSE OF ACTION
                                 Payment Under Mistake of Fact

        185.    The United States repeats and realleges each allegation in ¶¶ 1 through 184, as if

fully set forth herein.

        186.    This is a civil action brought by the United States against Defendants under the

common law for payment under mistake of fact.




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         187.   By virtue of the forgoing, under a mistake of fact, the United States paid or

reimbursed Defendants in the belief that defendants had accurately represented the use of federal

grant monies. Defendants took these monies with notice of the payment made under mistake of

fact.

         188.   Had the true facts been known, the United States would not have paid the claims

presented by Defendants for payment.

         189.   By reason of its payments, the United States has been damaged in an amount to be

determined.

                                  SIXTH CAUSE OF ACTION
                                      Unjust Enrichment

         190.   The United States repeats and realleges each allegation in ¶¶ 1 through 189, as if

fully set forth herein.

         191.   This is a civil action brought by the United States against Defendants under the

common law for unjust enrichment.

         192.   By virtue of the forgoing, Defendants were unjustly enriched by the United States'

payment or reimbursement of the above described acts, and have been unjustly enriched to the

extent of such payments or reimbursements. Defendants took these monies with notice that they

were being unjustly enriched.

         193.   By reason of the United States' payments which were paid solely as a result of

Defendants’ failure to reflect truthfully how grant monies were being expended, Defendants

received monies to which they were not entitled and has thereby been unjustly enriched in an

amount to be determined.



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                                 SEVENTH CAUSE OF ACTION
                                   Negligent Misrepresentation

          194.   The United States repeats and realleges each allegation in ¶¶ 1 through 193, as if

fully set forth herein.

          195.   This is a civil action brought by the United States against Defendants under the

common law for negligent misrepresentation.

          196.   In the course of its business, Defendants made false representations to the United

States. Defendants had a pecuniary interest in making the statements. Defendants owed a duty of

care to see that it communicated truthful information to the plaintiff. Defendants failed to

exercise reasonable care or competence in communicating the information to plaintiff.

Defendants breached the duty of care owed to plaintiff by failing to exercise due care.

          197.   The United States justifiably relied on the representation.

          198.   The United States suffered a pecuniary loss as the proximate result of reliance

upon the misrepresentations in an amount to be determined.

                                  EIGHTH CAUSE OF ACTION
                                      Breach of Contract

          199.   The United States repeats and realleges each allegation in ¶¶ 1 through 198, as if

fully set forth herein.

          200.   This is a civil action brought by the United States against Defendants for breach

of contract.

          201.   Defendants by signing and submitting grant applications, grant award documents,

and other assurance and certifications entered into a valid, binding contracts with the United

States.


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        202.    Defendants contracted to comply with all provisions of the grants they applied

for, including the non-supplanting provisions.

        203.    The United States performed or was excused from performance under the

contract.

        204.    Defendants materially breached their contacts with the United States by not

complying with grant requirements, including non-supplanting provisions, as described in this

Complaint.

        205.    The United States suffered a pecuniary loss as result of Defendants’ breached in

an amount to be determined.


                                NINTH CAUSE OF ACTION
                      Breach of Covenant of Good Faith and Fair Dealing

        206.    The United States repeats and realleges each allegation in ¶¶ 1 through 205, as if

fully set forth herein.

        207.    This is a civil action brought by the United States against Defendants for breach

of the covenant of good faith and fair dealing.

        208.    There is implied in every contract a covenant of good faith and fair dealing.

        209.    The United States and Defendants entered into valid, binding agreements.

        210.    Defendants owed the United States a duty of good faith and fair dealing.

        211.    Defendants breached their duty of good faith and fair dealing by failing to comply

with grants requirements, including non-supplanting provisions, as described in this Complaint.

        212.    The United States suffered a pecuniary loss as result of Defendants’ breach in an

amount to be determined.


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       WHEREFORE, the United States demands judgment against Defendants as follows:

       A.      On Count One, False Claims Act, judgment against the Defendants, for treble its

damages, for the number of civil penalties allowable by law, in an amount as the Court may

determine between $11,181 and $22,363 for each violation, plus such other relief as the jury

deems appropriate and just;

       B.      On Count Two, False Claims Act, judgment against the Defendants, for treble its

damages, for the number of civil penalties allowable by law, in an amount as the Court may

determine between $11,181 and $22,363 for each violation, plus such other relief as the jury

deems appropriate and just;

       C.      On Count Three, False Claims Act, judgment against the Defendants, for treble its

damages, for the number of civil penalties allowable by law, in an amount as the Court may

determine between $11,181 and $22,363 for each violation, plus such other relief as the jury

deems appropriate and just; and

       D.      On Count Four, Common Law Fraud, for (a) damages in an amount to be

determined, costs and interest; (b) a judgment declaring that those monies are rightfully the

property of the United States, and that the Defendants hold said monies in trust for the use and

benefit of the United States, and/or (c) a judgment that the United States holds an equitable lien

with respect to those monies;

       E.      On Count Five, Payment Under Mistake of Fact, for the amount (a) of monies of

which the United States mistakenly paid to the defendants, plus pre-judgment interest, fees and

costs, and/or (b) a judgment declaring that those monies are rightfully the property of the United

States, and that the Defendants hold said monies in trust for the use and benefit of the United


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States, and/or (c) a judgment that the United States holds an equitable lien with respect to those

monies;

       F.      On Count Six, Unjust Enrichment for (a) the amount they were unjustly enriched,

plus pre-judgment interest, fees and costs, and/or (b) a judgment declaring that those monies are

rightfully the property of the United States, and that the Defendants hold said monies in trust for

the use and benefit of the United States, and/or (c) a judgment that the United States holds an

equitable lien with respect to those monies;

       G.      On Count Seven, Negligent Misrepresentation for (a) damages in an amount to be

determined, together with costs and interest; (b) a judgment declaring that those monies are

rightfully the property of the United States, and that the Defendants hold said monies in trust for

the use and benefit of the United States, and/or (c) a judgment that the United States holds an

equitable lien with respect to those monies;

       H.      On Count Eight, Breach of Contract for (a) damages in an amount to be

determined, together with costs and interest; (b) a judgment declaring that those monies are

rightfully the property of the United States, and that the Defendants hold said monies in trust for

the use and benefit of the United States, and/or (c) a judgment that the United States holds an

equitable lien with respect to those monies;

       I.      On Count Nine, Breach of Covenant of Good Faith and Fair Dealing for (a)

damages in an amount to be determined, together with costs and interest; (b) a judgment

declaring that those monies are rightfully the property of the United States, and that the

Defendants hold said monies in trust for the use and benefit of the United States, and/or (c) a

judgment that the United States holds an equitable lien with respect to those monies


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       J.     And for all other and further relief as the Court may deem just and equitable.

       K.     For pre-judgment interest, post-judgment interest, fees and costs, as the jury

deems appropriate and just.

       Respectfully submitted this 10th day of April 2020.

                                            JOHN W. HUBER
                                            United States Attorney
                                            District of Utah

                                             /s/ Joel A. Ferre
                                            SANDRA L. STEINVOORT
                                            JOEL A. FERRE
                                            Assistant United States Attorneys
                                            District of Utah




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